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                  UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                         )
                                         )
SHERON GILCHRIST,                        ) Case No.:
                                         )
             Plaintiff.                  ) 2:20-cv-03015-CJC-E
                                         )
      v.                                 )
                                         )
PERSOLVE LEGAL GROUP.                    )
                                         )
                Defendant.               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: October 26, 2020                By: /s/ Amy L. B. Ginsburg
                                         Amy L. B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
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                          CERTIFICATE OF SERVICE

            I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

                                 Michael H Raichelson
                          Law Offices of Michael H. Raichelson
                            21900 Burbank Blvd., Suite 300
                              Woodland Hills, CA 91367
                                Phone: (818) 444-7770
                                  Fax: (818) 444-7776
                             Email: mhr@cabkattorney.com
                                Attorney for Defendant




Dated: October 26, 2020               By: /s/ Amy L. B. Ginsburg
                                        Amy L. B. Ginsburg, Esquire
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